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                           IN THE UNITED DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF
                            ARKANSAS CENTRAL DIVISION




BURRIS RICHARD STOVALL,Guardian
of RICHARD JOSHUA STOVALL,
Incapacitated Adult,

       Plaintiff,

vs.



                                                 Civil No.4;16-cv-00713-JLH
MACK TRUCKS,INC.;
VOLVO GROUP NORTH AMERICA,LLC.                   DISTRICT JUDGE HOLMES
INDIANA MILLS & MANUFACTURING,                   MAGISTRATE JUDGE VOLPE
INC.;
DOES 1-10


       Defendants.




             DEFENDANT INDIANA MILLS & MANUFACTURING.INC.'S
      RESPONSES AND OB.TECTIONS TO PLAINTIFF'S SECOND AMENDED
        NOTICE OF RIJI.E 30rBV6J DEPOSITION AND SUBPOENA DUCES
                                        TECUM


        Defendant Indiana Mills & Manufacturing, Inc. ("IMMI"), by counsel, for its

responses and objections to Plaintiff Burris Richard Stovall's Second Amended Notice of

Rule 30(B)(6) Deposition and Subpoena Duces Tecum,states as follows:

                               GENERAL OBJECTIONS


       1.       IMMI objects to the Requests and Topics to the extent that they seek the

       production oftestimony which is neither relevant nor reasonably designed to lead to

       the discovery of admissible evidence and to the extent that they are overly broad,

       unduly burdensome, and oppressive.
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                           Deposition Tonics


1.     Sled tests, crash tests, and CAE modeling regarding the S4-type

pretensioner in the driver's seating position, or simulated seating position,

of a commercial truck cab between 1997 and 2012.

RESPONSE TO TOPIC 1: IMMI will produce a corporate representative to
testify about sled tests, crash tests, and CAE modeling regarding the S4-type
pretensioner with respect to cab-over-engine trucks from 1997-2012, based on
matters known or reasonably available to it pursuant to Rule 30(B)(6).

OBJECTION: IMMI objects to this Topic because it is overbroad, unduly
burdensome, and seeks irrelevant information that is not proportionate to the
needs ofthe case as it is not limited to cab-over-engine trucks. Without waiving
these objections or the above General Objections, IMMI will provide a witness
as stated above.


2.     In Mr. Hoover's deposition in July 2018, he described that IMMI

provided Pierce with a steering wheel airbag and the 4Front System in the

time period 1997-2010 in their cab-over-engine (COE)-type trucks. I need

the company representative to speak about this work, including IMMI's

marketing brochures/literature that describes the purpose and operation of

the 4Front System; Video presentations created for marketing that

demonstrate, illustrate or technically show the purpose and operation of the

4Front System; Communications between IMMI and Mack about the 4Front

System, limited to communications that made Mack aware ofthe existence

of the technology, discussed the benefits of the technology, the cost and

timing of installation and use of the technology, development work

necessary to incorporate the technology, operation of the technology, test

results showing the benefits ofthe technology, or use and availability ofthe

technology, including use by competitors; the Design of the steering wheel
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airbag system provided to Pierce in the COE configuration; and testing of

the system in the COE context.

RESPONSE TO TOPIC 2: IMMI will produce a corporate representative to
discuss generally:(1) its work to design and implement a steering wheel airbag
and the 4Front System into Pierce's cab-over-engine trucks from 1997-2010;(2)
the marketing brochures/literature for the 4Front System that have been
produced in the above-captioned matter; and (3)the communications that have
been produced between IMMI personnel that were assigned as account
managers for Mack and Mack representatives regarding the 4Front System from
1997-2012, based on matters known or reasonably available to it pursuant to
Rule 30(B)(6),

3.     The corporate representative to speak to the company's knowledge of

MADYMO and FEA modeling in the context of steering wheel airbag

design, performance, and evaluation for COE trucks.

RESPONSE TO TOPIC 3i IMMI will produce a corporate representative to
discuss generally its use of MADYMO and FEA modeling in steering wheel
airbag design, performance and evaluation for cab-over-engine trucks from
1997- 2012, based on matters known or reasonably available to it pursuant to
Rule 30(B)(6).

OBJECTION. IMMI objects to this Topic because it is overbroad, unduly
burdensome, and seeks irrelevant information that is not proportionate to the
needs of the case as it is not limited in time; Without waiving these objections
or the above General Objections,IMMI will provide a witness as stated above.

4.     The corporate representative to speak to sled tests, crash tests, and

CAE modeling regarding the SPACE/S4 system in the driver's seating

position, or simulated seating position, ofa commercial truck COE-type cab

between 1997 and 2012.


RESPONSE TO TOPIC 4; IMMI will produce a corporate representative to
discuss generally the information that it has produced in discovery in this matter
relating to sled tests, crash tests, and CAE modeling regarding the SPACE/S4
system in the driver's seating position for cab-over-engine trucks from 1997-
2012, based on matters known or reasonably available to it pursuant to Rule
30(B)(6).

5.     The corporate representative to speak to the development and
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certification testing of the RollTek system installed for Mack for the 2014

project.

RESPONSE TO TOPIC 5! IMMI will produce a corporate representative to
discuss generally the development and testing ofthe RollTek system performed
regarding Mack truck models during the 2014 calendar year, based on matters
known or reasonably available to it pursuant to Rule 30(B)(6).

6.     The corporate representative to speak to scrap rates for the F10226

seatbelt system for the plants manufacturing the systems in 2012.

RESPONSE TO TOPIC 6: IMMI will produce a corporate representative to
discuss generally the scrap rates for the F10226 seatbelt system during the 2012
calendar year, based on matters known or reasonably available to it pursuant to
Rule 30(B)(6).

OBJECTION. IMMI objects to this Topic because it is overbroad, unduly
burdensome, and seeks irrelevant information that is not proportionate to the
needs of the case as scrap rates during the manufacturing process have no
bearing on the matters at issue in this case. Without waiving these objections or
the above General Objections,IMMI will provide a witness as stated above.

7.     The corporate representative to speak to communications between

IMMI and the Volvo Group, Volvo Group North America, or Volvo Trucks

about(a)the 4Front System and(b)RollTek technology. I'm only interested

in communications between 2001 and 2012, and communications that make

Volvo aware ofthe existence ofthe technology; discusses the benefits ofthe

technology; discusses the cost and timing of installation and use of the

technology; discusses development work necessary to incorporate the

technology; operation of the technology; test results showing the benefits

of the technology; or use and availability of the technology, including use

by competitors.

RESPONSE TO TOPIC 7: IMMI will produce a corporate representative to
discuss the written presentations that were made to Volvo and the email
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    correspondence between IMMI and Volvo that have been previously produced
    in this litigation, based on matters known or reasonably available to it pursuant
    to Rule 30(B)(6).

    OBJECTION. IMMI objects to this Topic because it is overbroad, unduly
    burdensome, and seeks irrelevant information that is not proportionate to the
    needs of the case to the extent that it: (1) seeks information relating to trucks
    other than cab-over-engine design trucks; and (2) requires IMMI to search the
    email accounts of every IMMI representative that may have ever spoken to
    Volvo Group, Volvo Group North American, or Volvo Trucks (collectively
    "Volvo")and/or for IMMI to interview all ofits employees regarding whether it
    spoke with persons employed by Volvo during the requested time-period.
    Without waiving these objections or the above General Objections, IMMI will
    provide a witness as stated above.


         IMMrS RESPONSE TO PLAINTIFF'S SUBPOENA PUCES
                                         TECUM


1. Summary ofthe representative's work history and experience at IMMI,such as a resume

   or biography.

     RESPONSE:IMMI will produce the witness(es)' CV/resume at the deposition,

2. The materials and information each representative uses, reviews, or obtains to educate

   him or herselfto speak for the corporation on each topic.

     RESPONSE: See the documents produced in response to Plaintiffs First
     Supplemental Requests for Production, which largely seek documentation relating
     to the topics set forth above. Also, see generally the documents produced by IMMI
     in this matter.


3. The written or computerized materials in the corporation's possession that represent the

   source of the corporation's knowledge or otherwise establishes the basis for the

   corporation's knowledge as to each topic.


     RESPONSE: See IMMFs response to Duces Tecum No.2 above and generally the
     documents produced by IMMI during the course ofthe above-captioned litigation.

4. Compliance with the ESl protocol is expected.

     RESPONSE:IMMI has searched ESI, where requested and applicable, as
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     specified in its responses to Plaintiffs discovery requests and/or correspondence
     enclosing and explaining its document productions.

5. If any information is withheld or redacted from the materials produced, a privilege log in

   compliance with federal law.

     RESPONSE; IMMI has not asserted privilege objections in response to Plaintiffs
     First Supplemental Requests for Production, which largely seek documentation
    relating to the topics set forth above.


                                              By:

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                               CERTIFICATE OF SERVICE


       I hereby certify that on this 29th day of June, 2020, a copy of the foregoing was served
upon the following parties via the Court's electronic service system;

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